       Case 2:13-cr-00165-TLN Document 84 Filed 12/12/14 Page 1 of 2


1    HEATHER E. WILLIAMS, #122664
     Federal Defender
2    MATTHEW C. BOCKMON, #161566
     Assistant Federal Defender
3    801 I Street, 3rd Floor
     Sacramento, CA 95814
4    Tel: 916-498-5700/Fax 916-498-5710
5    Attorney for Defendant
     STACEY MISTLER
6
7
8                                  IN THE UNITED STATES DISTRICT COURT
9                               FOR THE EASTERN DISTRICT OF CALIFORNIA
10
     UNITED STATES OF AMERICA,                              ) Case No. 2:13-cr-165 TLN
11                                                          )
                      Plaintiff,                            ) STIPULATION AND ORDER CONTINUING
12                                                          ) STATUS CONFERENCE
            vs.                                             )
13                                                          ) Date: January 22, 2015
     STACEY MISTLER,                                        ) Time: 9:30 a.m.
14                                                          ) Judge: Hon. Troy L. Nunley
                      Defendant.                            )
15                                                          )
                                                            )
16
             The United States of America, by and through Olusere Olowoyeye, Assistant United
17
     States Attorney, together with the defendant, Stacey Mistler, through Matthew C. Bockmon,
18
     Assistant Federal Defender, agree to vacate the change of plea date of December 18, 2014 and
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     set it for January 22, 2015 at 9:30 a.m. for the following reason:
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             The reason for the request is to allow defense counsel to review the proposed plea
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     agreement with the defendant in preparation for her change of plea.
22
             The parties agree that the Court should exclude time from computation under the Speedy
23
     Trial Act, pursuant to 18 U.S.C. § 3161(h)(8)(B)(iv) and Local Code T4, due to the need to
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     provide defense counsel with the reasonable time to prepare, and that the ends of justice to be
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     served by granting the continuance outweigh the best interests of the public and the defendant in
26
     a speedy trial. The exclusion of time is from December 12, 2014 until January 22, 2015.
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      Stipulation and Order to Continue Status Conference                     U.S. v. Mistler, et al., 13-cr-165 TLN
       Case 2:13-cr-00165-TLN Document 84 Filed 12/12/14 Page 2 of 2


1
                                                            Respectfully submitted,
2
3    Dated: December 12, 2014                               HEATHER E. WILLIAMS
                                                            Federal Defender
4
5                                                           /s/ Matthew C. Bockmon
                                                            MATTHEW C. BOCKMON
6                                                           Assistant Federal Defender
7                                                           Attorney for Defendant
                                                            STACEY MISTLER
8
9    Dated: December 12, 2014                               BENJAMIN B. WAGNER
                                                            United States Attorney
10
11                                                          /s/ Olusere Olowoyeye
                                                            OLUSERE OLOWOYEYE
12                                                          Assistant U.S. Attorney
                                                            Attorney for Plaintiff
13
14
                                                            ORDER
15
             Based on the reasons set forth in the stipulation of the parties filed on December 12,
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     2014, and good cause appearing therefrom, the Court adopts the stipulation of the parties in its
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     entirety. IT IS HEREBY ORDERED that the change of plea currently set for Thursday,
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     December 18, 2014, be vacated and set for Thursday, January 22, 2015, at 9:30 a.m. The Court
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     finds that the ends of justice to be served by granting a continuance outweigh the best interests of
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     the public and the defendants in a speedy trial. Accordingly, IT IS HEREBY ORDERED that,
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     for the reasons stated in the parties’ December 12, 2014 stipulation, the time within which the
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     trial of this matter must be commenced under the Speedy Trial Act is excluded during the time
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     period of December 12, 2014, through and including January 22, 2015, pursuant to 18 U.S.C.
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     §3161(h)(7)(A) and (B)(iv) and Local Code T4.
25
     Dated: December 12, 2014
26
                                                                        Troy L. Nunley
27
                                                                        United States District Judge
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      Stipulation and Order to Continue Status Conference                             U.S. v. Mistler, et al., 13-cr-165 TLN
